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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

In re:                                               )       Chapter 11
                                                     )
THE KRYSTAL COMPANY, et al.,1                        )       Case No. 20-61065 (PWB)
                                                     )
                                                     )
               Debtors.                              )       (Jointly Administered)
                                                     )

                NOTICE OF FILING OF MODIFIED PROPOSED ORDER
   (I) SETTING A BAR DATE FOR FILING PROOFS OF CLAIM, (II) SETTING AN
 AMENDED SCHEDULES BAR DATE, (III) SETTING A REJECTION DAMAGES BAR
 DATE, (IV) APPROVING THE FORM OF AND MANNER FOR FILING PROOFS OF
           CLAIM, (V) APPROVING NOTICE OF THE BAR DATES, AND
                      (VI) GRANTING RELATED RELIEF

       PLEASE TAKE NOTICE that on February 21, 2020, the above-captioned debtors and
debtors in possession (collectively, the “Debtors”) filed the proposed Order (I) Setting a Bar
Date for Filing Proofs of Claim, (II) Setting an Amended Schedules Bar Date, (III) Setting a
Rejection Damages Bar Date, (IV) Approving the Form of and Manner for Filing Proofs of
Claim, (V) Approving Notice of the Bar Dates, and (IV) Granting Related Relief (the “Initial
Proposed Order”). [Docket No. 180, Exhibit A].

         PLEASE TAKE FURTHER NOTICE that a redline reflecting modifications to the
Initial Proposed Order is attached hereto as Exhibit A.


                            [Remainder of page intentionally left blank]




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
    tax identification number, include: The Krystal Company (4140); Krystal Holdings, Inc.
    (5381); and K-Square Acquisition Co., LLC (8916). The location of the Debtors’ corporate
    headquarters and service address is: 1455 Lincoln Parkway, Suite 600, Dunwoody, Georgia
    30346.



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Date: March 16, 2020                       Respectfully submitted,
      Atlanta, Georgia
                                           KING & SPALDING LLP


                                           /s/ Sarah R. Borders
                                           Sarah R. Borders
                                           Georgia Bar No. 610649
                                           Jeffrey R. Dutson
                                           Georgia Bar No. 637106
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                                           Counsel for the Debtors in Possession
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                                    EXHIBIT A

                                      Redline
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                         )        Chapter 11
                                                               )
THE KRYSTAL COMPANY, et al.,1                                  )        Case No. 20-61065 (PWB)
                                                               )
                                                               )
                  Debtors.                                     )        (Jointly Administered)
                                                               )

                   ORDER (I) SETTING A BAR DATE FOR FILING
       PROOFS OF CLAIM, (II) SETTING AN AMENDED SCHEDULES BAR DATE,
      (III) SETTING A REJECTION DAMAGES BAR DATE, (IV) APPROVING THE
      FORM OF AND MANNER FOR FILING PROOFS OF CLAIM, (V) APPROVING
         NOTICE OF THE BAR DATES, AND (VI) GRANTING RELATED RELIEF

         Upon the motion (the “Motion2”) of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an order (this “Order”), (a) establishing the

bar dates for filing proofs of claim in these chapter 11 cases; (b) establishing the bar date for


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381); and K-Square Acquisition Co., LLC
  (8916). The location of the Debtors’ corporate headquarters and service address is: 1455 Lincoln Parkway, Suite
  600, Dunwoody, Georgia 30346.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.


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filing proofs of claim following the Debtors’ amendment of their Schedules; (c) establishing the

bar date for filing proofs of claim for damages arising from the Debtors’ rejection of executory

contracts or unexpired leases; (d) approving the form of and manner for filing proofs of claim;

(e) approving notice of the Bar Dates; and (f) granting related relief; all as more fully set forth in

the Motion; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2), and that this Court may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that

the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors,

and other parties in interest; and this Court having found that the Debtors’ notice of the Motion

and opportunity for a hearing on the Motion were appropriate under the circumstances and no

other notice need be provided; and this Court having reviewed the Motion and having heard the

statements in support of the relief requested therein at the hearing before this Court (the

“Hearing”); and this Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

I.     The Bar Dates and Procedures for Filing Proofs of Claim

       2.      Each entity that asserts a claim against the Debtors that arose before the Petition

Date is required to file an original, written Proof of Claim, substantially in the form attached


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hereto as Exhibit 1 or Official Form 410. Except in the cases of governmental units and certain

other exceptions explicitly set forth herein, all Proofs of Claim must be filed so that they are

received on or before April 30, 2020, at 5:00 p.m., prevailing Eastern Time (the “Claims Bar

Date”), at the addresses and in the form set forth herein. The Claims Bar Date applies to all types

of claims against the Debtors that arose or are deemed to have arisen before the Petition Date,

except for claims arising under section 503(b)(9) of the Bankruptcy Code for goods received by

the Debtors within the 20 day period prior to the Petition Date and claims specifically exempt

from complying with the Claims Bar Date as set forth in this Order.

          3.   If the Debtors file a previously unfiled Schedule or amend or supplement the

Schedules after having given notice of the Bar Dates, the Debtors shall give notice by first-class

mail of any filing, amendment, or supplement to holders of claims affected thereby, and the

deadline for those holders to file Proofs of Claim, if necessary, shall as the later of (a) the Claims

Bar Date or the Governmental Bar Date, as applicable, or (b) 5:00 p.m. prevailing Eastern Time

on the date that is 2130 days from the date the notice of the filing, amendment or supplement is

given (or another time period as may be fixed by the Court) (the “Amended Schedules Bar

Date”).

          4.   Unless otherwise ordered, all entities asserting claims arising from the rejection of

executory contracts and unexpired leases of the Debtors shall file a Proof of Claim on account of

such rejection by the later of (a) the Claims Bar Date or the Governmental Bar Date, as

applicable; or (b) 5:00 p.m. prevailing Eastern Time on the date that is 2130 days following entry

of an order approving the rejection of any such executory contract or unexpired lease (the

“Rejection Damages Bar Date”).


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       5.      All Proofs of Claim must be filed so as to be received by the Claims and Noticing

Agent on or before the applicable Bar Date. If Proofs of Claim are not received by the Claims

and Noticing Agent on or before the applicable Bar Date, the holders of the underlying claims

shall be barred from asserting such claims against the Debtors and precluded from voting on any

chapter 11 plans filed in these chapter 11 cases and/or receiving distributions from the Debtors

on account of such claims in these chapter 11 cases.

II.    Parties Required to Submit a Proof of Claim

       6.      The following categories of claimants shall be required to file a Proof of Claim by

the applicable Bar Date:

       (a)     any entity whose claim against a Debtor is not listed in the applicable Debtor’s
               Schedules or is listed as “contingent,” “unliquidated,” or “disputed” and if such
               entity desires to participate in any of these chapter 11 cases or share in any
               distribution in any of these chapter 11 cases;

       (b)     entity that believes that its claim is improperly classified in the Schedules or is
               listed in an incorrect amount and who desires to have its claim allowed in a
               different classification or amount other than that identified in the Schedules; and

       (c)     any entity that believes that any claim listed in the Schedules is not an obligation
               of the specific Debtor against which the claim is listed and that desires to have its
               claim allowed against a different Debtor.

III.   Parties Not Required to File Proofs of Claim

       7.      The following categories of claimants shall not be required to file a Proof of

Claim by the applicable Bar Date:

       (a)     any entity that already has filed a signed Proof of Claim against the respective
               Debtor(s) with the Clerk of the Court or with the Claims and Noticing Agent in a
               form substantially similar to Official Form 410;

       (b)     any entity whose claim is listed on the Schedules if: (i) the claim is not scheduled
               as “disputed,” “contingent,” or “unliquidated;” (ii) such entity agrees with the
               amount, nature, and priority of the claim as set forth in the Schedules; and (iii)


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              such entity does not dispute that its claim is an obligation only of the specific
              Debtor against which the claim is listed in the Schedules;

       (c)    any entity whose claim previously has been allowed by order of the Court;

       (d)    any entity whose claim has been paid in full by the Debtors in accordance with an
              order of the Court;

       (e)    any Debtor or non-Debtor subsidiary having a claim against another Debtor;

       (f)    any entity whose claim is solely against any of the Debtors’ non-Debtor affiliates;

       (g)    any holder of an equity interest in a Debtor need not file a proof of interest with
              respect to the ownership of such equity interest at this time; provided, however,
              that any holder of an equity interest who wishes to assert a claim against a Debtor,
              including a claim relating to such equity interest or the purchase or sale of such
              interest, must file a proof of claim asserting such claim on or prior to the Claims
              Bar Date pursuant to procedures set forth herein;

       (h)    an employee of any Debtor holding a claim for wages, commissions, or benefits if
              an order of this Court authorized the Debtors to honor such claim in the ordinary
              course of business; provided, however, that a current or former employee must
              submit a Proof of Claim by the Claims Bar Date for all other claims arising before
              the Petition Date, including claims for wrongful termination, discrimination,
              harassment, hostile work environment, and/or retaliation, as applicable;

       (i)    any entity holding a claim for which a separate deadline is fixed by the Court;

       (j)    any entity that is exempt from filing a Proof of Claim by order of the Court;

       (k)    administrative expense claims for post-petition fees and expenses incurred by any
              professional allowable under sections 330, 331, and 503(b) of the Bankruptcy
              Code; and

       (l)    claims asserting administrative priority and arising in the ordinary course of
              business (but not, for the avoidance of doubt, claims asserting priority pursuant to
              section 503(b)(9) of the Bankruptcy Code for goods received by the Debtors
              within the 20 day period prior to the Petition Date ).

IV.    Substantive Requirements of Proofs of Claim

       8.     The following requirements shall apply with respect to filing and preparing each

Proof of Claim:



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      (a)   Contents. Each Proof of Claim must: (i) be legible and written in English; (ii)
            include a claim amount denominated in United States dollars (using the Petition
            Date rate of conversion, if applicable); (iii) conform substantially with the Proof
            of Claim Form or Official Form 410; and (iv) be signed by the claimant or by an
            authorized agent or legal representative of the claimant.

      (b)   Original Signatures Required. Each Proof of Claim other than an electronically
            submitted Proof of Claim must contain an original signature of the claimant or the
            claimant’s authorized agent or legal representative. Copies of Proofs of Claim or
            Proofs of Claim sent by facsimile or electronic mail will not be accepted.

      (c)   Identification of the Debtor Entity. Each Proof of Claim must clearly identify the
            Debtor against which the claim is being asserted, including such Debtor’s
            individual case number. A Proof of Claim filed under the joint administration
            case number (No. 20-61065) or otherwise without identifying a specific Debtor,
            will be deemed filed only against Debtor The Krystal Company.

      (d)   Claim Against Multiple Debtors. Each Proof of Claim must state a claim against
            only one Debtor. If a creditor has a claim against multiple Debtors, it must file a
            separate Proof of Claim against each such Debtor. If more than one Debtor is
            listed on a single Proof of Claim, the asserted claim will be deemed filed only
            against the first-listed Debtor. If the claimant asserts a claim against more than
            one Debtor or has claims against different Debtors, a separate Proof of Claim
            must be filed with respect to each Debtor.

      (e)   Supporting Documentation. Each Proof of Claim must include supporting
            documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).

      (f)   Timely Filing. Each Proof of Claim (including supporting documentation) must
            be filed so as to be received, on or before the applicable Bar Date by either: (i)
            electronically using the interface available on the Notice and Claims Agent’s
            website at https://epoc.kccllc.net/Krystal; or (ii) first-class U.S. Mail, overnight
            mail, or other hand-delivery system, which Proof of Claim must include an
            original signature, at the following address:

                    The Krystal Company Claims Processing Center
                    c/o KCC
                    222 N. Pacific Coast Hwy, Suite 300
                    El Segundo, CA 90245
                    T: (888) 249-2792

                    Proofs of claim submitted by facsimile or electronic mail will not be
                    accepted and will not be deemed timely FILED.



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       (g)     Receipt of Service. Claimants wishing to receive acknowledgment that their
               Proofs of Claim were timely received by the Claims and Noticing Agent must
               submit (i) a copy of the Proof of Claim (in addition to the original Proof of Claim)
               and (ii) a self-addressed, stamped envelope.

V.     Identification of Known Creditors

       9.      The Debtors shall mail notice of the Bar Dates only to their known creditors, and

such mailing shall be made to the last known mailing address for each such creditor.

VI.    Procedures for Providing Notice of Bar Date

       A.      Mailing of Bar Date Notice

       10.     On or about fiveWithin three business days after entry of this Order, the Debtors

shall cause written notice of the Bar Dates, substantially in the form attached hereto as Exhibit 2

(the “Bar Date Notice”) and a Proof of Claim Form (together, the “Bar Date Package”) to be

mailed via first-class U.S. mail to the following entities:

       (a)     the Office of the U.S. Trustee;

       (b)     the Office of the United States Attorney for the Northern District of Georgia and
               for the other federal districts in which the Debtors conduct business;

       (c)     counsel to the Committee;

       (d)     all creditors and holders of potential claims against the Debtors, in each case,
               known as of the date of the Bar Date Order, including all persons or entities listed
               in the Schedules for which the Debtors have addresses;

       (e)     each of the parties on the Limited Service List;

       (f)     all creditors and other known holders of claims against the Debtors as of the date
               of entry of the Bar Date Order, including all entities listed in the Schedules as
               holding claims against the Debtors;

       (g)     all persons or entities that, upon reasonable inquiry, are believed to have
               conducted business with the Debtors;

       (h)     all entities that have requested notice of the proceedings in these chapter 11 cases
               pursuant to Bankruptcy Rule 2002 as of the date the Bar Date Order is entered;

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       (i)     all entities that have filed Proofs of Claim in these chapter 11 cases as of the date
               of the Bar Date Order;

       (j)     all known non-Debtor holders of equity interests in the Debtors as of the date the
               Bar Date Order is entered;

       (k)     all entities who are party to executory contracts and unexpired leases with the
               Debtors;

       (l)     all entities who are party to litigation with the Debtors;

       (m)     all current and former employees (to the extent that contact information for
               former employees is available in the Debtors’ records);

       (n)     all regulatory authorities that regulate the Debtors’ businesses;

       (o)     all taxing authorities for the jurisdictions in which the Debtors maintain or
               conduct business;

       (p)     the state attorneys general for states in which the Debtors conduct business;

       (q)     the Pension Benefit Guaranty Corporation;

       (r)     the United States Internal Revenue Service; and

       (s)     the United States Securities and Exchange Commission.

       11.     The Debtors shall provide all known creditors listed in the Schedules with a Proof

of Claim Form. Additionally, any creditor may choose to submit a Proof of Claim on a different

form as long as it is substantially similar to Official Form 410.

       12.     After the initial mailing of the Bar Date Packages the Debtors may, in their

discretion, make supplemental mailings of notices or packages, including in the event that: (a)

notices are returned by the post office with forwarding addresses; (b) certain parties acting on

behalf of parties in interest decline to pass along notices to these parties and instead return their

names and addresses to the Debtors for direct mailing, and (c) additional potential claimants

become known as the result of the Bar Date mailing process. In this regard, the Debtors may



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make supplemental mailings of the Bar Date Packages in these and similar circumstances at any

time up to 2130 days in advance of the Bar Date, with any such mailings being deemed timely

and the appropriate Bar Date being applicable to the recipient creditors.

       B.      Publication of Bar Date Notice

       13.     The Debtors shall cause notice of the Bar Dates to be given by publication to

creditors to whom notice by mail is impracticable, including creditors who are unknown or not

reasonably ascertainable by the Debtors and creditors whose identities are known but whose

addresses are unknown by the Debtors. Specifically, the Debtors shall cause the Publication

Notice, in substantially the form annexed hereto as Exhibit 3, to be published on one occasion in

the New York Times (National Edition).

VII.   Consequences of Failure to File a Proof of Claim

       14.     Any entity who is required, but fails, to file a Proof of Claim in accordance with

this Order on or before the applicable Bar Date shall be forever barred, estopped, and enjoined

from asserting such claim against the Debtors (or filing a Proof of Claim with respect thereto)

and the Debtors and their property shall be forever discharged from any and all indebtedness or

liability with respect to or arising from such claim.

VIII. Miscellaneous

       15.     The Debtors are authorized to take all actions necessary or appropriate to

effectuate the relief granted pursuant to this Order in accordance with the Motion.

       16.     The terms and conditions of this Order shall be immediately effective and

enforceable upon entry of the Bar Date Order.




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       17.    This Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.

                                    [END OF DOCUMENT]




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Prepared and presented by:

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                                      Exhibit 1

                                 Proof of Claim Form
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                                                            United States Bankruptcy Court for the Northern District of Georgia


                            Indicate Debtor against which you assert a claim by checking the appropriate box below. (Check only one Debtor per claim form.)

      ☐ The Krystal Company (Case No. 20-61065)                 ☐ Krystal Holdings, Inc. (Case No. 20-61067)                      ☐ K-Square Acquisition Co., LLC (Case No. 20-61068)




     Official Form 410
     Proof of Claim                                                                                                                                                   04/19
     Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Other than a claim under
     11 U.S.C. § 503(b)(9),Do not use this form should not be used to make a claimrequest for payment of an administrative expense arising after
     the commencement of the case.
     Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
     documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts,
     judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not
     available, explain in an attachment.
     A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
     Fill in all the information about the claim as of the date the case was filed.

      Part 1:   Identify the Claim

     1. Who is the current creditor?


                                                  Name of the current creditor (the person or entity to be paid for this claim)




                                                  Other names the creditor used with the debtor


     2. Has this claim been acquired                     No
        from someone else?
                                                         Yes.     From whom?

     3. Where should notices and                  Where should notices to the creditor be sent?                           Where should payments to the creditor be
        payments to the creditor be sent?                                                                                 sent? (if different)
4.
     5. Federal Rule of Bankruptcy                Name                                                                    Name
        Procedure (FRBP) 2002(g)

                                                  Number          Street                                                  Number          Street



                                                  City                                State                ZIP            City                           State             ZIP
                                                  Code                                                                    Code



                                                  Country                                                                 Country

                                                  Contact phone                                                           Contact phone

                                                  Contact email                                                           Contact email


                                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                                  ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


     6. Does this claim amend one                        No
        already filed?
                                                         Yes.     Claim number on court claims registry (if known)                                      Filed on
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                                           MM   /   DD   /   YYYY

7. Do you know if anyone else has               No
   filed a proof of claim for this
   claim?                                       Yes. Who made the earlier filing?



 Official
Part  2: Form
          Give410                                               Proof
               Information About the Claim as of the Date the Case WasofFiled
                                                                         Claim
                                                                    page 1
8. Do you have any number you use to identify the                        No
   debtor?
                                                                         Yes. Last 4 digits of the debtor’s account or any number you use to identify the
                                                                    debtor: ___ ___ ___ ___


9. How much is the claim?                                           $                                            . Does this amount include interest or other
                                                                    charges?
                                                                                                                         No

                                                                                                                         Yes. Attach statement itemizing
                                                                    interest, fees, expenses, or other                                  charges required by
                                                                    Bankruptcy Rule 3001(c)(2)(A).

10. What is the basis of the claim?                                 Examples: Goods sold, money loaned, lease, services performed, personal injury or
                                                                    wrongful death, or credit card.
                                                                    Attach redacted copies of any documents supporting the claim required by Bankruptcy
                                                                    Rule 3001(c).
                                                                    Limit disclosing information that is entitled to privacy, such as health care information.




11. Is all or part of the claim secured?                                 No

                                                                         Yes. The claim is secured by a lien on property.
                                                                                Nature of property:

                                                                                  Real estate: If the claim is secured by the debtor’s principal residence, file a
                                                                    Mortgage Proof of                                     Claim Attachment (Official Form
                                                                    410-A) with this Proof of Claim.

                                                                                  Motor vehicle

                                                                                  Other. Describe:




                                                                                Basis for perfection:

                                                                                   Attach redacted copies of documents, if any, that show evidence of perfection
                                                                    of a security interest (for                            example, a mortgage, lien, certificate
                                                                    of title, financing statement, or other document that shows the lien                   has
                                                                    been filed or recorded.)



                                                                                Value of property:                             $
                                                                                Amount of the claim that is secured:           $
                                                                               Amount of the claim that is unsecured: $                              (The sum of
                                                                    the secured and unsecured
                                                                                amount should match the amount in line 7.)


                                                                                Amount necessary to cure any default as of the date of the petition:             $
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                                                                                  Annual Interest Rate (when case was filed) %
                                                                                     Fixed

                                                                                     Variable



12. Is this claim based on a lease?                                        No

                                                                           Yes. Amount necessary to cure any default as of the date of the petition.
                                                                     $

13. Is this claim subject to a right of setoff?                            No

                                                                           Yes. Identify the property:




14. Is all Form
 Official  or part
                410of the claim            No                               Proof of Claim
    entitled to priority under                                                 page 2
    11 U.S.C. § 507(a)?                                                                                                                       Amount entitled to priority
                                           Yes. Check all that apply:
15.
                                                Domestic support obligations (including alimony and child support) under
16. A claim may be partly                       11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                    $
    priority and partly
    nonpriority. For example,                   Up to $3,025* of deposits toward purchase, lease, or rental of property
    in some categories, the        or           services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                   $
    law limits the amount
    entitled to priority.                       Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                days before the bankruptcy petition is filed or the debtor’s business                     $
                                   ends,                 whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                     $

                                                Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                         $

                                                Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                         $

                                           * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.


13. Is all or part of the claim            No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                           Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                           days before the date of commencement of the above case, in which the goods have been sold to the Debtor
                                   in      the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                           $


Part 3:    Sign Below

The person completing this proof of claim must sign                   Check the appropriate box:
and date it.
                                                                            I am the creditor.
FRBP 9011(b).
                                                                            I am the creditor’s attorney or authorized agent.
If you file this claim electronically, FRBP 5005(a)(2)
authorizes courts to establish local rules specifying what a                I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
signature is.
                                                                            I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
A person who files a fraudulent claim could be fined up
to $500,000, imprisoned for up to 5 years, or both.
18 U.S.C. §§ 152, 157, and 3571.
                                                                      I understand that an authorized signature on this Proof of Claim serves as an
                                                                      acknowledgement that when calculating the amount of the claim, the creditor gave the
                                                                      debtor credit for any payments received toward the debt.

                                                                      I have examined the information in this Proof of Claim and have reasonable belief that the
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                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct.

                                       Executed on date

                                                           MM / DD / YYYY




                                               Signature




                                       Print the name of the person who is completing and signing this claim:




                                       Name

                                                           First name                           Middle name

                                       Title




                                       Company

                                                           Identify the corporate servicer as the company if the authorized agent is a servicer.




                                       Address

                                                           Number                               Street




                                                           City                                 State                                     ZIP Code




                                       Contact phone              Email




Official Form 410                              Proof of Claim
                                                  page 3
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Official Form 410
Instructions for Proof of Claim
United States Bankruptcy Court                                                                                                             04/19


These instructions and definitions generally explain the law. In certain circumstances, such as bankruptcy cases that debtors do
not file voluntarily, exceptions to these general rules may apply. You should consider obtaining the advice of an attorney,
especially if you are unfamiliar with the bankruptcy process and privacy regulations.

    A person who files a fraudulent claim could be fined up to          PLEASE SEND COMPLETED PROOF(S) OF CLAIM
    $500,000, imprisoned for up to 5 years, or both.                    TO:
    18 U.S.C. §§ 152, 157 and 3571
                                                                        The Krystal Company Claims Processing Center
                                                                        c/o KCC

How to fill out this form                                               222 N. Pacific Coast Hwy., Ste. 300

     Fill in all of the information about the claim as of the           El Segundo, CA 90245
     date the case was filed.

                                                                        A Proof of Claim form and any attached documents must
     Fill in the caption at the top of the form                    show only the last 4 digits of any social security number,
                                                                   individual’s tax identification number, or financial account
                                                                   number, and only the year of any person’s date of birth. See
                                                                   Bankruptcy Rule 9037.
     If the claim has been acquired from someone else,
     then state the identity of the last party who owned
     the claim or was the holder of the claim and who
transferred it to you before the initial claim was filed.                 For a minor child, fill in only the child’s initials and the
                                                                          full name and address of the child’s parent or guardian.
                                                                          For example, write A.B., a minor child (John Doe, parent, 123 Main
                                                                   St., City, State). See Bankruptcy Rule 9037.
     Attach any supporting documents to this form.
     Attach redacted copies of any documents that show that
     the debt exists, a lien secures the debt, or both. (See the
definition of redaction on the next page.)
     Also attach redacted copies of any documents that show
     perfection of any security interest or any assignments or
     transfers of the debt. In addition to the documents, a
     summary may be added. Federal Rule of Bankruptcy
     Procedure (called “Bankruptcy Rule”) 3001(c) and (d).


    Do not attach original documents because
attachments may be destroyed after scanning.                            Confirmation that the claim has been filed

                                                                         To receive confirmation that the claim has been filed, either
     If the claim is based on delivery health care goods                 enclose a stamped self-addressed envelope and a copy of this
     or services, do not disclose confidential health care               form or you may view a list of filed claims in this case by
     information. Leave out or redact confidential
                                                                         visiting the Claims and Noticing and Agent’s website at
information both in the claim and in the attached
documents.                                                         http://www.kccllc.net/krystal.


                                                                        Understand the terms used in this form
                                                                        Administrative expense: Generally, an expense that arises
                                                                        after a bankruptcy case is filed in connection with operating,
                                                                        liquidating, or distributing that bankruptcy estate.
                                                                        11 U.S.C. § 503
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                                          Claim: A creditor’s right to receive payment for a debt that the
                                          debtor owed on the date the debtor filed for bankruptcy. 11
                                          U.S.C. §101 (5). A claim may be secured or unsecured.
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Claim Pursuant to 11 U.S.C. §503(b)(9): A claim arising            Secured claim under 11 U.S.C. §506(a): A claim backed by a
from the value of any goods received by the Debtor within          lien on particular property of the debtor. A claim is secured to
20 days before the date of commencement of the above               the extent that a creditor has the right to be paid from the
case, in which the goods have been sold to the Debtor in    property before other creditors are paid. The amount of a
the ordinary course of the Debtor’s business. Attach        secured claim usually cannot be more than the value of the
documentation supporting such claim.                        particular property on which the creditor has a lien. Any
                                                            amount owed to a creditor that is more than the value of the
                                                            property normally may be an unsecured claim. But exceptions exist;
Creditor: A person, corporation, or other entity to whom a for example, see 11 U.S.C. § 1322(b) and the final          sentence of
debtor owes a debt that was incurred on or before the date  1325(a).
the debtor filed for bankruptcy. 11 U.S.C. §101 (10).
                                                                   Examples of liens on property include a mortgage on real estate
                                                                   a security interest in a car. A lien may be voluntarily granted
                                                                   by a debtor or may be obtained through a court proceeding. In
Debtor: A person, corporation, or other entity to who is in        states, a court judgment may be a lien.
bankruptcy. Use the debtor’s name and case number as
shown in the bankruptcy notice you received.
                                                                      Setoff: Occurs when a creditor pays itself with money
                                                                belonging to the debtor that it is holding, or by canceling a debt it
11 U.S.C. §101 (13).                                            owes to the debtor.


Evidence of perfection: Evidence of perfection of a                    Uniform claim identifier: An optional 24-character identifier
security interest may include documents showing that a                 that some creditors use to facilitate electronic payment.
security interest has been filed or recorded, such as a
mortgage, lien, certificate of title, or financing statement.
                                                                       Unsecured claim: A claim that does not meet the requirements
                                                                       of a secured claim. A claim may be unsecured in part to the
Information that is entitled to privacy: A Proof of Claim              extent that the amount of the claim is more than the value of
form and any attached documents must show only the last 4              the property on which a creditor has a lien.
digits of any social security number, an individual’s tax
identification number, or a financial account number, only
the initials of a minor’s name, and only the year of any
person’s date of birth. If a claim is based on delivering
                                                                     Offers to purchase a claim
health care goods or services, limit the disclosure of the           Certain entities purchase claims for an amount that is less than
goods or services to avoid embarrassment or disclosure of            the face value of the claims. These entities may contact
confidential health care information. You may later be       creditors offering to purchase their claims. Some written
required to give more information if the trustee or someone communications from these entities may easily be confused            with
else in interest objects to the claim.                       official court documentation or communications from the
                                                             debtor. These entities do not represent the bankruptcy court, the
                                                             bankruptcy trustee, or the debtor. A creditor has no obligation to sell
Priority claim: A claim within a category of unsecured       its claim. However, if a creditor decides to sell its claim,        any
claims that is entitled to priority under 11 U.S.C. §507(a). transfer of that claim is subject to Bankruptcy Rule       3001(e), any
These claims are paid from the available money or            provisions of the Bankruptcy Code (11 U.S.C. §             101 et seq.)
property in a bankruptcy case before other unsecured         that apply, and any orders of the bankruptcy court         that apply.
claims are paid. Common priority unsecured claims include
alimony, child support, taxes, and certain unpaid wages.


Proof of claim: A form that shows the amount of debt the
debtor owed to a creditor on the date of the bankruptcy
filing. The form must be filed in the district where the case
is pending.


Redaction of information: Masking, editing out, or
deleting certain information to protect privacy. Filers must
redact or leave out information entitled to privacy on the
Proof of Claim form and any attached documents.
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Do not file these instructions with your form.
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                                      Exhibit 2

                                   Bar Date Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                          )        Chapter 11
                                                                )
THE KRYSTAL COMPANY, et al.,1                                   )        Case No. 20-61065 (PWB)
                                                                )
                                                                )
                  Debtors.                                      )        (Jointly Administered)
                                                                )

                    NOTICE OF DEADLINES FOR THE FILING OF
            (I) PROOFS OF CLAIM, AND (II) REJECTION DAMAGES CLAIMS

TO ALL PERSONS AND ENTITIES WHO MAY HAVE CLAIMS AGAINST ANY OF
THE FOLLOWING DEBTOR ENTITIES:

                                                                                           Federal Tax Identification
                 Debtor Name                                  Case Number                          Number
The Krystal Company                                  Case No. 20-61065 (PWB)              XX-XXXXXXX
Krystal Holdings, Inc.                               Case No. 20-61067 (PWB)              XX-XXXXXXX
K-Square Acquisition Co., LLC                        Case No. 20-61068 (PWB)              XX-XXXXXXX

PLEASE TAKE NOTICE THAT:

         On January 19, 2020 (the “Petition Date”), The Krystal Company and certain of its
affiliates and subsidiaries (collectively, the “Debtors”) filed voluntary petitions for relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the Northern District of Georgia (the “Court”).

        On [●], 2020, the Court entered an order [Docket. No. [●]] the (“Bar Date Order”)2
establishing certain dates by which parties holding prepetition claims against the Debtors must
file proofs of claim (“Proofs of Claim”), and claims for damages stemming from rejection of
executory contracts or unexpired leases. For your convenience, enclosed with this notice (this
“Notice”) is a Proof of Claim form.

       As used in this Notice, the term “entity” has the meaning given to it in section 101(15) of
the Bankruptcy Code, and includes all persons, estates, trusts, and governmental units. The terms

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381); and K-Square Acquisition Co.,
  LLC (8916). The location of the Debtors’ corporate headquarters and service address is: 1455 Lincoln Parkway,
  Suite 600, Dunwoody, Georgia 30346.
2
   Capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Bar Date
  Order.
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“persons” and “governmental units” are defined in sections 101(41) and 101(27) of the
Bankruptcy Code, respectively.

       As used in this Notice, the term “claim” means, as to or against the Debtors and in
accordance with section 101(5) of the Bankruptcy Code: (a) any right to payment, whether or
not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; or (b) any right to an
equitable remedy for breach of performance if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured, or unsecured.

I.        The Bar Dates

             The Bar Date Order establishes the following bar dates for filing Proofs of Claim in
     these chapter 11 cases (the “Bar Dates”).

          (a)    The Claims Bar Date. Pursuant to the Bar Date Order, except as described below,
                 all entities holding claims against any Debtor that arose or are deemed to have
                 arisen prior to the commencement of these cases on the Petition Date, are
                 required to file Proofs of Claim so that such Proofs of Claim are received by the
                 Claims and Noticing Agent by the Claims Bar Date (i.e., on or before April 30,
                 2020 at 5:00 p.m., prevailing Eastern Time). The Claims Bar Date applies to all
                 types of claims against any Debtor that arose prior to the Petition Date, including,
                 without limitation, secured claims, unsecured priority claims, and unsecured
                 non-priority claims, except for claims arising under section 503(b)(9) of the
                 Bankruptcy Code for goods received by the Debtors within the 20 day period prior
                 to the Petition Date.

          (b)    The Governmental Bar Date. All governmental units holding claims against the
                 Debtors that arose or are deemed to have arisen prior to the commencement of
                 these cases on the Petition Date are required to file proofs of claim so that such
                 Proofs of Claim are received by the Claims and Noticing Agent by July 20, 2020
                 at 5:00 p.m., prevailing Eastern Time (the “Governmental Bar Date”). The
                 Governmental Bar Date applies to all governmental units holding claims against
                 the Debtors (whether secured, unsecured priority, or unsecured non-priority) that
                 arose prior to the Petition Date, including, without limitation, governmental units
                 with claims against the Debtors for unpaid taxes, whether such claims arise from
                 prepetition tax years or periods or prepetition transactions to which the Debtors
                 were a party.

          (c)    The Amended Schedules Bar Date. Pursuant to the Bar Date Order, all parties
                 asserting claims against the Debtors’ estates that are affected by a previously
                 unfiled Schedule or amendment or supplement to the Schedules are required to
                 file Proofs of Claim so that such Proofs of Claim are received by the Claims
                 and Noticing Agent by the Amended Schedules Bar Date (i.e., by the later of (a)
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               the Claims Bar Date or the Governmental Bar Date, as applicable depending on
               the claimant, or (b) 5:00 p.m., prevailing Eastern Time, on the date that is 2130
               days from the date on which the Debtors provide notice of such filing,
               amendment or supplement).

       (d)     The Rejection Damages Bar Date. Pursuant to the Bar Date Order, all parties
               asserting claims against the Debtors’ estates arising from the Debtors’ rejection of
               an executory contract or unexpired lease are required to file Proofs of Claim with
               respect to such rejection so that such Proofs of Claim are received by the
               Claims and Noticing Agent by the Rejection Damages Bar Date (i.e., by the
               later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable,
               or
               (b) 5:00 p.m., prevailing Eastern Time, on the date that is 2130 days following
               entry of an order approving such rejection).

II.    Who Must File a Proof of Claim

       Except as otherwise set forth herein, the following entities holding claims against the
Debtors that arose (or that are deemed to have arisen) prior to the Petition Date must file Proofs
of Claim on or before the applicable Bar Date:

       (a)     any entity whose claim against a Debtor is not listed in the applicable Debtor’s
               Schedules or is listed as “contingent,” “unliquidated,” or “disputed” and if such
               entity desires to participate in any of these chapter 11 cases or share in any
               distribution in any of these chapter 11 cases;

       (b)     any entity that believes that its claim is improperly classified in the Schedules or is
               listed in an incorrect amount and who desires to have its claim allowed in a
               different classification or amount other than that identified in the Schedules; and

       (c)     any entity that believes that any claim listed in the Schedules is not an obligation
               of the specific Debtor against which the claim is listed and that desires to have its
               claim allowed against a different Debtor.

III.   Parties Who Do Not Need to File Proofs of Claim

        Certain parties are not required to file Proofs of Claim. The Court may, however, enter
one or more separate orders at a later time requiring creditors to file Proofs of Claim for some
kinds of the following claims and setting related deadlines. If the Court does enter such an order,
you will receive notice of it. The following entities holding claims that would otherwise be
subject to the Bar Dates need not file Proofs of Claims:

       (a)     any entity that already has filed a signed Proof of Claim against the respective
               Debtor(s) with the Clerk of the Court or with the Claims and Noticing Agent in a
               form substantially similar to Official Form 410;

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      (b)   any entity whose claim is listed on the Schedules if: (i) the claim is not scheduled
            as “disputed,” “contingent,” or “unliquidated;” (ii) such entity agrees with the
            amount, nature, and priority of the claim as set forth in the Schedules; and (iii)
            such entity does not dispute that its claim is an obligation only of the specific
            Debtor against which the claim is listed in the Schedules;

      (c)   any entity whose claim previously has been allowed by order of the Court;

      (d)   any entity whose claim has been paid in full by the Debtors in accordance with an
            order of the Court;

      (e)   any Debtor or non-Debtor subsidiary having a claim against another Debtor;

      (f)   any entity whose claim is solely against any of the Debtors’ non-Debtor affiliates;

      (g)   any holder of an equity interest in a Debtor need not file a proof of interest with
            respect to the ownership of such equity interest at this time; provided, however,
            that any holder of an equity interest who wishes to assert a claim against a Debtor,
            including a claim relating to such equity interest or the purchase or sale of such
            interest, must file a proof of claim asserting such claim on or prior to the Claims
            Bar Date pursuant to procedures set forth herein;

      (h)   an employee of any Debtor holding a claim for wages, commissions, or benefits if
            an order of this Court authorized the Debtors to honor such claim in the ordinary
            course of business; provided, however, that a current or former employee must
            submit a Proof of Claim by the Claims Bar Date for all other claims arising before
            the Petition Date, including claims for wrongful termination, discrimination,
            harassment, hostile work environment, and/or retaliation, as applicable;

      (i)   any entity holding a claim for which a separate deadline is fixed by the Court;

      (j)   any entity that is exempt from filing a Proof of Claim by order of the Court;

      (k)   administrative expense claims for post-petition fees and expenses incurred by any
            professional allowable under sections 330, 331, and 503(b) of the Bankruptcy
            Code; and

      (l)   claims asserting administrative priority and arising in the ordinary course of
            business (but not, for the avoidance of doubt, claims asserting priority pursuant to
            section 503(b)(9) of the Bankruptcy Code for goods received by the Debtors
            within the 20 day period prior to the Petition Date).




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IV.    Instructions for Filing Proof of Claim

       The following requirements shall apply with respect to filing and preparing each Proof of
Claim against the first-listed Debtor.

       (a)    Contents. Each Proof of Claim must: (i) be legible and written in English; (ii)
              include a claim amount denominated in United States dollars (using the Petition
              Date rate of conversion, if applicable); (iii) conform substantially with the Proof
              of Claim Form or Official Form 410; and (iv) be signed by the claimant or by an
              authorized agent or legal representative of the claimant.

       (b)    Original Signatures Required. Each Proof of Claim other than an electronically
              submitted Proof of Claim must contain an original signature of the claimant or the
              claimant’s authorized agent or legal representative. Copies of Proofs of Claim or
              Proofs of Claim sent by facsimile or electronic mail will not be accepted.

       (c)    Identification of the Debtor Entity. Each Proof of Claim must clearly identify the
              Debtor against which the claim is being asserted, including such Debtor’s
              individual case number. A Proof of Claim filed under the joint administration
              case number (No. 20-61065) or otherwise without identifying a specific Debtor,
              will be deemed filed only against Debtor The Krystal Company.

       (d)    Claim Against Multiple Debtors. Each Proof of Claim must state a claim against
              only one Debtor. If a creditor has a claim against multiple Debtors, it must file a
              separate Proof of Claim against each such Debtor. If more than one Debtor is
              listed on a single Proof of Claim, the asserted claim will be deemed filed only
              against the first-listed Debtor. If the claimant asserts a claim against more than
              one Debtor or has claims against different Debtors, a separate Proof of Claim
              must be filed with respect to each Debtor.

       (e)    Supporting Documentation. Each Proof of Claim must include supporting
              documentation in accordance with Bankruptcy Rules 3001(c) and 3001(d).

       (f)    Timely Filing. Each Proof of Claim (including supporting documentation) must
              be filed so as to be received, on or before the applicable Bar Date by (i)
              electronically using the interface available on the Notice and Claims Agent’s
              website at https://epoc.kccllc.net/Krystal; or (ii) first-class U.S. Mail, overnight
              mail, or other hand-delivery system, which Proof of Claim must include an
              original signature, at the following address:

                      The Krystal Company Claims Processing Center
                      c/o KCC
                      222 N. Pacific Coast Hwy, Suite 300
                      El Segundo, CA 90245
                      T: (888) 249-2792

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                       Proofs of claim submitted by facsimile or electronic mail will not be
                       accepted and will not be deemed timely FILED.

       (g)     Receipt of Service. Claimants wishing to receive acknowledgment that their
               Proofs of Claim were timely received by the Claims and Noticing Agent must
               submit (i) a copy of the Proof of Claim (in addition to the original Proof of Claim)
               and (ii) a self-addressed, stamped envelope.

V.     Consequences of Failing to Timely File Your Proof of Claim

        Pursuant to the Bar Date Order and in accordance with Bankruptcy Rule 3003(c)(2), if
you are required, but fail, to file a Proof of Claim in accordance with the Bar Date Order on or
before the applicable Bar Date, please be advised that:

       (a)     YOU WILL BE FOREVER BARRED, ESTOPPED, AND ENJOINED FROM
               ASSERTING SUCH CLAIM AGAINST ANY OF THE DEBTORS (OR FILING
               A PROOF OF CLAIM WITH RESPECT THERETO IN THESE CHAPTER 11
               CASES);

       (b)     THE DEBTORS AND THEIR PROPERTY SHALL BE FOREVER
               DISCHARGED FROM ANY AND ALL INDEBTEDNESS OR LIABILITY
               WITH RESPECT TO OR ARISING FROM SUCH CLAIM;

       (c)     YOU WILL NOT RECEIVE ANY DISTRIBUTION IN THESE CHAPTER 11
               CASES ON ACCOUNT OF THAT CLAIM; AND

       (d)     YOU WILL NOT BE PERMITTED TO VOTE ON ANY CHAPTER 11 PLAN
               FOR THE DEBTORS ON ACCOUNT OF THAT CLAIM OR RECEIVE
               FURTHER NOTICES REGARDING SUCH CLAIM.

VI.    Amendment to the Debtors’ Schedules

        If, subsequent to the date of this Notice, the Debtors file a previously unfiled Schedule or
amend or supplement their Schedules to reduce the amount of your claim previously listed in the
Schedules as undisputed, noncontingent, and liquidated, or to change the nature or classification
of your claim reflected in the Schedules, you are required to file a Proof of Claim or amend any
previously filed Proof of Claim in respect of the additional or amended scheduled claim on or
before the later of (a) the Claims Bar Date or the Governmental Bar Date, as applicable to such
claim, or (b) 5:00 p.m. prevailing Eastern Time on the date that is 2130 days after the date that on
which the Debtors provide notice of the filing, amendment, or supplement to the Schedules (or
another time period as may be fixed by the Court) (the “Amended Schedules Bar Date”).




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VII.   The Rejection Damages Bar Date

       If you have a claim arising from the rejection of an executory contract or unexpired lease,
you must submit your Proof of Claim based on such rejection on or before the later of (a) the
Claims Bar Date or the Governmental Bar Date, as applicable, or (b) 5:00 p.m., prevailing
Eastern Time, on the date that is 2130 days following entry of an order approving such rejection
(the “Rejection Damages Bar Date”). The Debtors will provide notice of the Rejection Damages
Bar Date to the contract or lease counterparty whose contract or lease is being rejected at the time
the Debtors reject such executory contract or unexpired lease.

VIII. The Debtors’ Schedules and Access Thereto

       You may be listed as the holder of a claim against one or more of the Debtors on the
Debtors’ Schedules. It is your responsibility to determine that your claim is accurately listed in
the Schedules.

       If you agree with the nature, amount, and status of your claim as listed in the Debtors’
Schedules, and if you do not dispute that your claim is only against the Debtor specified by the
Debtors, and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you
need not file a Proof of Claim. Otherwise, or if you decide to file a Proof of Claim, you must do
so before the applicable Bar Date in accordance with the procedures set forth in this Notice.

IX.    Additional Information

         Copies of the Debtors’ Schedules, the Bar Date Order, and other information regarding
these chapter 11 cases are available for inspection free of charge on the Claims and Noticing
Agent’s website at https://www.kccllc.net/krystal. The Schedules and other filings in these
chapter 11 cases also are available for a fee at the Court’s website at
https://ecf.ganb.uscourts.gov/https://ecf.ganb.uscourts.gov/. A login identification and password
to the Court’s Public Access to Court Electronic Records (“PACER”) are required to access this
information and can be obtained through the PACER Service Center at
http://www.pacer.psc.uscourts.gov.http://www.pacer.psc.uscourts.gov.

       If you require additional information regarding the filing of a proof of claim, you may
contact the Claims and Noticing Agent directly by writing to: The Krystal Company Claims
Processing Center, c/o KCC, 222 N. Pacific Coast Hwy, Suite 300, El Segundo, CA 90245.
Please note that the Claims and Noticing Agent cannot offer legal advice or advise whether you
should file a proof of claim.

THIS NOTICE IS BEING SENT TO MANY PERSONS AND ENTITIES THAT HAVE
HAD SOME RELATIONSHIP WITH OR HAVE DONE BUSINESS WITH THE
DEBTORS BUT MAY NOT HAVE AN UNPAID CLAIM AGAINST THE DEBTORS.
THE FACT THAT YOU HAVE RECEIVED THIS NOTICE DOES NOT MEAN THAT
YOU HAVE A CLAIM OR THAT THE DEBTORS OR THIS COURT BELIEVE THAT
YOU HAVE ANY CLAIM. A HOLDER OF A POSSIBLE CLAIM AGAINST THE

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DEBTORS SHOULD CONSULT AN ATTORNEY REGARDING ANY MATTERS NOT
COVERED BY THIS NOTICE, SUCH AS WHETHER THE HOLDER SHOULD FILE A
PROOF OF CLAIM.

                                     Reservation of Rights

       Nothing contained in this Bar Date Notice is intended, or should be construed, as a
waiver of the rights of the Debtors or any party in interest to: (a) dispute, or assert offsets or
defenses against, any claim asserted by a Proof of Claim or listed on the Schedules, (b)
subsequently designate any scheduled claim as disputed, contingent, or unliquidated; and
otherwise amend or supplement the Schedules.

                          [Remainder of page intentionally left blank.]




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                                      Exhibit 3

                                  Publication Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                           )        Chapter 11
                                                                 )
THE KRYSTAL COMPANY, et al.,1                                    )        Case No. 20-61065 (PWB)
                                                                 )
                                                                 )
                  Debtors.                                       )        (Jointly Administered)
                                                                 )

                NOTICE OF DEADLINE FOR FILING OF PROOFS OF CLAIM

PLEASE TAKE NOTICE OF THE FOLLOWING:

       Deadlines for Filing Proofs of Claim. On [●], 2020 the Court entered an order [Dkt.
No. __] the (“Bar Date Order”)2 establishing certain dates by which parties holding prepetition
claims against the Debtors (listed below) must file proofs of claim (“Proofs of Claim”), including
Rejection Damages Claims.

                                                                                            Federal Tax Identification
                 Debtor Name                                  Case Number                           Number
The Krystal Company                                  Case No. 20-61065 (PWB)               XX-XXXXXXX
Krystal Holdings, Inc.                               Case No. 20-61067 (PWB)               XX-XXXXXXX
K-Square Acquisition Co., LLC                        Case No. 20-61068 (PWB)               XX-XXXXXXX

The Bar Dates

       Claims Bar Date. Pursuant to the Bar Date Order, all entities, including individuals,
partnerships, estates, and trusts who have a claim or potential claim against the Debtors, that
arose prior to the Petition Date, no matter how remote or contingent such right to payment or
equitable remedy may be, MUST FILE A PROOF OF CLAIM on or before April 30, 2020 at
5:00 p.m., prevailing Eastern Time (the “Claims Bar Date”).

        Governmental Bar Date. Governmental entities who have a claim or potential claim
against the Debtors that arose prior to the Petition Date, no matter how remote or contingent such
right to payment or equitable remedy may be, MUST FILE A PROOF OF CLAIM on or before
July 20, 2020 at 5:00 p.m., prevailing Eastern Time (the “Governmental Bar Date”).

1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
  number, include: The Krystal Company (4140); Krystal Holdings, Inc. (5381); and K-Square Acquisition Co.,
  LLC (8916). The location of the Debtors’ corporate headquarters and service address is: 1455 Lincoln Parkway,
  Suite 600, Dunwoody, Georgia 30346.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bar Date
  Order.
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       Amended Schedules Bar Date. All parties asserting claims against the Debtors’ estates
that are affected by a previously unfiled Schedule or an amendment or supplement to the
Schedules are required to file Proofs of Claim by the later of (a) the Claims Bar Date or the
Governmental Bar Date, as applicable, or (b) 5:00 p.m., prevailing Eastern Time, on the
date that is 2130 days from the date on which the Debtors provide notice of a previously
unfiled Schedule or amendment or supplement to the Schedules (the “Amended Schedules
Bar Date”).

        Rejection Damages Bar Date. All parties asserting claims against the Debtors’ estates
arising from the Debtors’ rejection of an executory contract or unexpired lease must file a Proof
of Claim by the later of (a) the Claims Bar Date or the Governmental Bar Date, as
applicable, or (b) 5:00 p.m. prevailing Eastern Time on the date that is 2130 days following
entry of an order approving such rejection (the “Rejection Damages Bar Date”).

ANY PERSON OR ENTITY WHO FAILS TO FILE A PROOF OF CLAIM OR WHO FAILS
TO FILE AN ADMINISTRATIVE CLAIM WITH THE COURT, IN EACH CASE ON OR
BEFORE THE APPLICABLE BAR DATE, SHALL NOT BE TREATED AS A CREDITOR
WITH RESPECT TO SUCH CLAIM FOR THE PURPOSES OF VOTING AND
DISTRIBUTION ON ANY CHAPTER 11 PLAN.

        Filing a Proof of Claim. Each Proof of Claim must be filed, including supporting
documentation, by (i) electronically using the interface available on the Notice and Claims
Agent’s website at https://epoc.kccllc.net/Krystal; or (ii) first-class U.S. Mail, overnight mail, or
other hand-delivery system, which Proof of Claim must include an original signature, so as to be
received by KCC (the “Claims and Noticing Agent”) on or before the Claims Bar Date or the
Governmental Bar Date (or, where applicable, on or before any other Bar Date as set forth
herein) at the following address:

                       The Krystal Company Claims Processing Center
                       c/o KCC
                       222 N. Pacific Coast Hwy, Suite 300
                       El Segundo, CA 90245
                       T: (888) 249-2792

         Contents of Proofs of Claim. Each proof of claim must (i) be legible and written in
English; (ii) include a claim amount denominated in United States dollars (using the Petition
Date rate of conversion, if applicable); (iii) conform substantially with the Proof of Claim Form;
(iv) be signed by the claimant or by an authorized agent or legal representative of the claimant;
and (v) include as attachments any and all supporting documentation on which the claim is
based. Please note that each proof of claim must state a claim against only one Debtor and
clearly indicate the specific Debtor against which the claim is asserted. To the extent more than
one Debtor is listed on the proof of claim, a proof of claim is treated as if filed only against the
first-listed Debtor, or if a proof of claim is otherwise filed without identifying a specific Debtor,
the proof of claim may be deemed as filed only against The Krystal Company.



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        ADDITIONAL INFORMATION. If you have any questions regarding the claims
process and/or you wish to obtain a copy of the Bar Date Notice, a Proof of Claim Form or
related documents you may do so by: (i) calling the Debtors’ restructuring hotline at (888)
249-2792 (U.S./Canada) or (310) 751-2607 (International); (ii) visiting the Debtors’ restructuring
website at: https://www.kccllc.net/krystal; and/or (iii) The Krystal Company Claims Processing
Center, c/o KCC, 222 N. Pacific Coast Hwy, Suite 300, El Segundo, CA 90245. Please note that
the Claims and Noticing Agent cannot offer legal advice or advise whether you should file a
proof of claim.

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